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               IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF FLORIDA
                        ORLANDO DIVISION

SONATE CORPORATION, d/b/a
Vegadelphia Foods,
                                               Case No. 22-cv-00812
                Plaintiff,

       v.                                      DEMAND FOR A JURY TRIAL

DUNKIN’ BRANDS GROUP, INC., a
Massachusetts Corporation, DUNKIN’
BRANDS, INC., a Delaware
Corporation, and BEYOND MEAT,
INC., a Delaware Corporation,

                Defendant.



TRADEMARK INFRINGEMENT COMPLAINT FOR INJUNCTIVE AND
                   OTHER RELIEF

      Plaintiff Sonate Corporation, d/b/a Vegadelphia Foods (“Sonate” or

“Vegadelphia”), by its undersigned counsel, complains and alleges against

Defendants Dunkin’ Brands Group, Inc., Dunkin’ Brands, Inc. (collectively

“Dunkin’”) and Beyond Meat, Inc. (“Beyond”) (together, “Defendants”) as follows:

                             NATURE OF THE CASE

      1.    This action arises from Defendants’ blatant copying of Vegadelphia’s

slogan WHERE GREAT TASTE IS PLANT-BASED (the “WHERE GREAT

TASTE IS PLANT-BASED® Mark”), which Vegadelphia continuously used since

2013. Defendants knew about this federally-registered trademark on information and
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belief when they adopted the indistinguishable GREAT TASTE, PLANT-BASED

slogan for a celebrity-laden national advertising campaign supporting their Beyond

Sausage meat substitute menu item. The result of Defendants’ illegal campaign was

impressive and immediate: A profitable shift of Dunkin’s marketplace positioning,

expansion of its nationwide overall sales, increase in customer purchases per visit,

growth of Beyond’s base of repeat customers, and improvement of Dunkin’s share

price, greatly enhancing the goodwill of both companies.

      2.     Plaintiff’s savory Vegadelphia meat alternatives were available at delis

and fast food restaurants for many years prior to Dunkin’s launch. This includes fast

food restaurants such as the 40-location Meson Sandwiches, traditional restaurants,

pizza shops, and the like, selling menu items built around savory Vegadelphia meat

alternatives perfected by Plaintiff’s family company whose legacy traces its roots

back generations.

      3.     Within the last few years, alternative “meatless meat” products became

truly mainstream, driven in part by increasing consumer focus on health and

sustainability. Massive fast food companies finally dove in. For example, in early

2019, Burger King announced a meatless Whopper in partnership with Beyond

competitor, Impossible Foods.

      4.     Riding the wave, Dunkin’ and Beyond collaborated in 2019 to launch

a Dunkin Beyond Sausage sandwich, with its meat substitute sausage patty supplied



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by Beyond and competing directly with the Vegadelphia meat alternatives. Although

a new product offering that should have had fresh marketing, Dunkin’ and Beyond

chose to instead promote their collaboration under Plaintiff’s already-established

slogan.

      5.       Starting October 2019, the Beyond Sausage advertising campaign was

built around the essentially identical “GREAT TASTE, PLANT-BASED” slogan.

Dunkin’ and Beyond flooded this GREAT TASTE, PLANT-BASED advertising

and promotional campaign through virtually every medium, including television and

online celebrity ads featuring Snoop Dogg.

      6.       Not only was the “GREAT TASTE PLANT-BASED” slogan an

imitation of Vegadelphia’s trademark, but Defendants used placement and imagery

in their branding that is nearly identical to Vegadelphia’s own branding. The overlap

in font style, stacked text, and even sunray background imagery, is beyond

coincidence:




                       PLAINTIFF                              DEFENDANTS

      7.       Defendants’ “GREAT TASTE PLANT-BASED” products and


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branding were rolled out to all of Dunkin’s 9,000 U.S. restaurant locations as

Defendants made prolific use of their infringing slogan to advertise and drive sales

of alternative meat and other products. For example, Defendants’ nationwide launch

included a November 2019 national commercial featuring Snoop Dogg, introducing

him in a Dunkin’ store setting as he hands a sandwich to a customer from the register

with a voice-over: “You want that Plant-Based Great Taste fresh out of the oven?”

The screen then flashes to a white background with a sandwich in the middle and

“Great Taste Plant Based” zooms in from both sides in the largest and most

prominent text. The infringing slogan was demonstrably one of the most central

components of Defendants’ promotional efforts, if not the single most important

component.

      8.     Between at least three different commercials featuring the “GREAT

TASTE PLANT-BASED” slogan, advertisement tracking data indicates that

Dunkin’ and Beyond spent approximately $10 million to enjoy more than 1 billion

aggregate viewer impressions – enough for nearly every man, women, and child in

the United States to see the commercials three times, or to flood a smaller group of

viewers far more than three times apiece.

      9.     A conservative estimate of Defendants’ revenue from the Beyond

Sausage sandwiches sold in connection with the infringing “GREAT TASTE

PLANT-BASED” slogan exceeds $135 million over the course of just the initial six



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months of sales, with Defendants enjoying a combined estimated 60% profit margin.

Of course, these sales do not account for additional purchases made by customers

drawn into Dunkin’ stores by “GREAT TASTE PLANT-BASED” advertising,

valuable access to a broader audience, and ultimately improving the intrinsics

supporting a higher acquisition price when Dunkin’ was acquired in 2020. Expanded

access was particularly timely given Dunkin’s early 2019 rebranding that replaced

“Dunkin’ Donuts” with the single-word name “Dunkin’”, allowing the brand more

flexibility to expand its reach.

      10.    Dunkin’ and Beyond expanded their reach under the infringing

“GREAT TASTE PLANT-BASED” slogan with actual and constructive knowledge

of Vegadelphia’s prior registered trademark rights on the same mark for the same

substitute meat goods. And, they did so even though this put them in direct

competition with the Vegadelphia products, including Vegadelphia’s competing

sales at restaurants such as the popular coffee and sandwich chain, El Meson

Restaurants. Defendants’ knowing and willful disregard of Vegadelphia’s prior

registered trademark rights for the exact infringing goods makes this both a classic

exceptional case of infringement and what the Lanham Act deems to be

counterfeiting.

      11.    Vegadelphia is therefore entitled to recover all or some of:

Vegadelphia’s damages, a reasonable royalty on infringing sales, an equitable



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portion of the infringers’ profits, statutory damages, punitive damages under state

law, attorneys’ fees and costs.

                                       PARTIES

      12.    Plaintiff Sonate Corporation is a corporation organized under the laws

of the State of Pennsylvania, with its principal place of business at 702 N 3rd Street,

PMB 303, Philadelphia, PA 19123.

      13.    Defendant Dunkin’ Brands Group, Inc. is a corporation organized and

existing under the laws of the State of Massachusetts, with its principal place of

business on information and belief located at 130 Royall Street, Canton,

Massachusetts 02021.

      14.    Defendant Dunkin’ Brands, Inc. is a corporation organized and existing

under the laws of the State of Delaware, with its principal place of business on

information and belief located at 130 Royall Street, Canton, Massachusetts 02021,

and on information and belief both registered to do business in Florida and doing

business here at all relevant times.

      15.    On information and belief, Dunkin’ Brands, Inc. is the operating entity

for the Dunkin’ business and wholly-owned subsidiary of the formerly-NASDAQ

listed holding company Dunkin’ Brands Group, Inc., which public company was

sold for approximately $11 billion to Inspire Brands, Inc. on or around December

2020, resulting in its delisting from NASDAQ.



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      16.    Defendant Beyond Meat, Inc. is a Delaware corporation with its

principal executive offices located on information and belief at 119 Standard Street,

El Segundo, California 90245.

      17.    At all times mentioned herein, on information and belief, defendants,

and each of them, were an agent, representative, and/or alter ego of its co-defendants,

or otherwise acting on behalf of each and every remaining defendant and, in doing

the things hereinafter alleged, were acting within the course and scope of their

authorities as an agent, representative, and/or alter ego of its co-defendants, with the

full knowledge, permission and consent of each and every remaining defendant.

                          JURISDICTION AND VENUE

      18.    This action arises under the federal trademark statute, 15 U.S.C. § 1051

et seq., and under state law, including the statutory and common law of the State of

Florida.

      19.    This Court has subject matter jurisdiction over the federal trademark

infringement claims pursuant to 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331, 1338, and

1367. This Court has subject matter jurisdiction over the related state law claims

pursuant to 28 U.S.C. §§ 1338 and 1367.

      20.    This Court also has diversity jurisdiction under 28 U.S.C. § 1332 as the

parties are completely diverse citizens of different states and the amount in

controversy exceeds $75,000, exclusive of interests and costs.



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       21.   This Court has general personal jurisdiction over Dunkin’, which is

doing continuous and systematic business in the State of Florida. Dunkin’ owns,

operates and/or controls 50 (on information and belief) restaurant locations in the

City of Orlando, 888 (on information and belief) locations in the State of Florida,

and thousands more throughout the United States. On information and belief,

Orlando is in the list of top 10 cities for number of Dunkin’ locations, while Florida

is in the top three states, as Dunkin’ has consistently targeted both Orlando and

Florida for the opportunities and consumers located in Florida. Dunkin’ has caused

its products and/or services to be advertised, promoted, and sold in this judicial

district.

       22.   This Court has specific personal jurisdiction over Dunkin’ because the

claims asserted in this Complaint also arise out of Dunkin’s contacts with this

judicial district selling infringing goods that are at issue in the Complaint; and, as a

result, Dunkin’ has caused tortious injury to Vegadelphia in this judicial district.

More specifically, all of Dunkin’s U.S. locations, including those in Florida, offered

Beyond’s meat substitute products at issue in this case. The “GREAT TASTE

PLANT-BASED” branding was used in-store at Dunkin’ in Orlando, including on

employee t-shirts together with Beyond branding, as well as through local Florida

marketing channels directed at driving Florida sales. Vegadelphia has felt direct

harm caused by Dunkin’ in Florida, in particular, including because of



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Vegadelphia’s strong client and consumer presence in Florida.

      23.    This Court has general personal jurisdiction over Beyond, which is

doing continuous and systematic business in the State of Florida. Beyond offers its

substitute meat products at grocery and restaurant locations in the City of Orlando,

the State of Florida, and throughout the United States. Beyond has caused its

products and/or services to be advertised, promoted, and sold in this judicial district.

      24.    This Court has specific personal jurisdiction over Beyond because the

claims asserted in this Complaint also arise out of Beyond’s contacts with this

judicial district where, in association with Dunkin’, Beyond has been distributing

infringing goods that are at issue in the Complaint, including on information and

belief shipping goods to Dunkin’ in Florida that it knew would be sold through the

infringing GREAT TASTE, PLANT-BASED campaign; and, as a result, Beyond

has caused tortious injury to Vegadelphia in this judicial district. More specifically,

each of Dunkin’s U.S. locations, including those in Florida, offered Beyond’s meat

substitute products at issue in this case. The “GREAT TASTE PLANT-BASED”

branding was used in-store at Dunkin’ in Orlando, including on employee t-shirts

together with Beyond branding. Vegadelphia has felt direct harm caused by Beyond

in Florida, in particular, including because of Vegadelphia’s strong client and

consumer presence in Florida, and Beyond intended to and did profit in Florida from

additional repeat customers of its Beyond patties as a result.



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      25.    Further, this Court has jurisdiction over the Defendants under Florida’s

long-arm statutes and due process. Under Fla. Stat. 48.193(2), each of Defendants

have substantial and not isolated activity within this state, including continuous and

systematic general business with Florida. This activity for each Defendant is

extensive and pervasive, in that a significant portion of the Defendant’s business

operations or revenue are derived from established commercial relationships in the

state. Further, Dunkin Brands, Inc. is registered to do business in Florida with a local

registered agent for service of process. In addition, directly or through their agents,

under Fla. Stat. 48.193(1), under subsection (a)(1) Defendants carried on a business

or business venture in Florida with hundreds of Dunkin’ locations in this state, and

pursuant to subsection (1)(a)(6), all Defendants collectively created the infringing

GREAT TASTE PLANT-BASED at-store campaign materials and directed these

materials into the State of Florida which were then used at their direction by the

Dunkin’ stores in Florida in the ordinary course of commerce, trade, or use to make

the infringing sales of the Beyond Sausage sandwiches, and the Defendants each and

collectively thereby engaged in solicitation of said sales within this state.

      26.    Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) and (c)

because Dunkin’ and Beyond have extensive contacts with and conduct business

within the State of Florida and this judicial district; Dunkin’ and Beyond have caused

products and/or services to be advertised, promoted, and sold in this judicial district;



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the claims asserted in this Complaint arise out of Dunkin’ and Beyond’s contacts

with this judicial district; the harm to Vegadelphia was substantially felt in this

district; and Dunkin’ and Beyond have caused tortious injury to Vegadelphia in this

judicial district.

                           FACTUAL BACKGROUND

Vegadelphia’s Business and the WHERE GREAT TASTE IS PLANT-BASED
                                 Marks

       27.    Vegadelphia was founded in 2004 in Philadelphia, Pennsylvania, and

is run by two brothers, whose family has been in the food industry for generations.

       28.    Vegadelphia manufactures and sells high quality food products made

from plants. Vegadelphia products not only appeals to vegans and vegetarians, but

to anyone looking for plant-based food options without sacrificing look or taste.

       29.    Since its launch, Vegadelphia has been providing vegan food products

for food service providers or retail operators looking to bring in new customers,

increase business and keep customers satisfied.

       30.    As a result, over the years, Vegadelphia has grown into a multi-state

business known for its dedication to quality. The VEGADELPHIA brand sells

veggie-lean beef and veggie-lean chicken (“The Perfect Ingredient®”), and has also

sold vegan, crab-free crab cakes.

       31.    In 2013, Vegadelphia adopted a powerful slogan: WHERE GREAT

TASTE IS PLANT-BASED. By March 2014, Vegadelphia had placed the mark on

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all Vegadelphia’s key packaging and marketing. Vegadelphia has been continuously

and exclusively using the WHERE GREAT TASTE IS PLANT-BASED® Mark in

commerce in association with its substitute meat products since that time.

      32.    On March 10, 2015, the United States Patent and Trademark Office

(“USPTO”) issued to Vegadelphia U.S. Trademark Registration No. 4,698,499 for

the WHERE GREAT TASTE IS PLANT-BASED® Mark in connection with “meat

substitute and poultry substitute” goods along with seafood substitute goods and

retail and wholesale food services. A true and correct copy of this registration and is

attached as Exhibit A and a true and correct copy of the USPTO’s online Trademark

Electronic Search System (TESS) printout for this registration is attached as Exhibit

B, with both being incorporated herein by reference.

      33.    The WHERE GREAT TASTE IS PLANT-BASED® Mark is an

incontestable mark. On March 11, 2020, Vegadelphia renewed the registration for

its WHERE GREAT TASTE IS PLANT-BASED® Mark, submitting Section 8 and

15 declarations of use and incontestability. In keeping its registrations up to date,

Vegadelphia’s renewal filing appropriately cancelled the registration only as to

extraneous goods and services – namely, seafood substitute and retail and wholesale

food services.

      34.    Vegadelphia is the owner of all right, title and interest in, including the

right to enforce, the WHERE GREAT TASTE IS PLANT-BASED® Mark for meat



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substitute and poultry substitute goods.

      35.    Vegadelphia’s registration of the WHERE GREAT TASTE IS

PLANT-BASED® Mark on the Principal Register maintained by the USPTO is

constructive notice to Defendants and others of Vegadelphia’s claim of ownership

thereof pursuant to 15 U.S.C. § 1072. On information and belief, Beyond engaged

in a pre-launch search process that disclosed this mark prior to the nationwide launch

of the infringing campaign, but still adopted and launched the infringement.

      36.    Registration No. 4,698,499 for the WHERE GREAT TASTE IS

PLANT-BASED® Mark is incontestable. It meets the provisions of 15 U.S.C. § 1065

as Vegadelphia has filed a Declaration of Incontestability signed by Vegadelphia

that it has made continuous use of the WHERE GREAT TASTE IS PLANT-

BASED® Mark for five years after initial registration on March 10, 2015.

      37.    The incontestable status of the registration for the WHERE GREAT

TASTE IS PLANT-BASED® Mark means the mark is presumptively distinctive and

is conclusive evidence of the following: the validity of the registered WHERE

GREAT TASTE IS PLANT-BASED® Mark; Vegadelphia’s ownership of the

WHERE GREAT TASTE IS PLANT-BASED® Mark; and Vegadelphia’s exclusive

right to use the WHERE GREAT TASTE IS PLANT-BASED® Mark with the

services in Registration No. 4,698,499.

      38.    The WHERE GREAT TASTE IS PLANT-BASED® Mark is inherently



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distinctive, and further has acquired distinctiveness at least through substantially

exclusive and continuous use of the mark in commerce in the United States for more

than five years.

      39.    Vegadelphia also owns common law rights to the WHERE GREAT

TASTE IS PLANT-BASED® Mark based on the continuous and extensive bona fide

use by Vegadelphia in interstate commerce in the United States to promote its goods

and services over the past at least eight years.

      40.    Since adoption, the WHERE GREAT TASTE IS PLANT-BASED®

Mark has been consistently used on Vegadelphia packaging and marketing, both

with and without stylization, for example:




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          41.   Vegadelphia’s redistributor has sold and/or currently sells products in

association with the WHERE GREAT TASTE IS PLANT-BASED® Mark to

distributors in Florida, Puerto Rico, Pennsylvania, New York, New Jersey, and other

states.

          42.   Vegadelphia has also maintained a national fast-food account with

Meson Sandwiches, a fast-food restaurant with approximately 40 locations across

Florida and Puerto Rico, Puerto Rico’s largest restaurant chain, and which enjoys

annual sales near $100 million and includes three locations in Florida and two

specifically in Orlando.

          43.   Similarly, Vegadelphia held placement in the deli of the entire mid-

Atlantic region of Whole Foods in 2014-2016 through direct distribution of goods

associated with the WHERE GREAT TASTE IS PLANT-BASED® Mark, including

at least three-dozen stores.

          44.   Vegadelphia sells its meat substitute products at wholesale in 40-pack

boxes of clear-wrapped 4-ounce meat alternatives. They are then sold in a store’s

food service section. The distributors are given 2-page product brochures both for

retailer sales and for use at retail, and to provide product information to be re-used

in food service marketing prepared by the retailer. The WHERE GREAT TASTE IS

PLANT-BASED® Mark is called out prominently.




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      45.    Vegadelphia has devoted substantial time, effort, and resources to the

development and promotion of the WHERE GREAT TASTE IS PLANT-BASED®

Mark and the goods offered thereunder. As a result of Vegadelphia’s efforts, a

significant number of the consuming public as well as restaurant and deli distributors

have come to recognize and rely upon the WHERE GREAT TASTE IS PLANT-

BASED® Mark as a source-indicator and an indication of the high quality and

goodwill associated with Vegadelphia’s meat substitute products.

      46.    The WHERE GREAT TASTE IS PLANT-BASED® Mark is an

indicator of source and quality of the goods that Vegadelphia provides throughout

the country, and it enjoys a high degree of consumer recognition.




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              Defendants’ Unauthorized Use Of Vegadelphia’s
             WHERE GREAT TASTE IS PLANT-BASED® Marks

      47.    In or about December 2019, Vegadelphia discovered that Dunkin’

entered into a strategic partnership with Beyond pursuant to which Dunkin’ would

sell Beyond-branded imitation meat products at Dunkin’ retail locations throughout

the United States.

      48.    In order to promote that partnership, Dunkin and Beyond developed a

cohesive advertising campaign centered around the slogan “GREAT TASTE

PLANT-BASED.”

      49.    In Summer 2019, the Beyond Sausage Sandwich was launched in

Dunkin’s New York stores. They were so successful that a nationwide launch to all

9,000 Dunkin stores took place on October 21, 2019.

      50.    The nationwide launch included a November 2019 Snoop Dogg

national commercial, with a voice-over introducing him in a Dunkin’ store setting.

Snoop Dogg’s first line as he hands a sandwich to a customer from the register was,

“You want that Plant-Based Great Taste fresh out of the oven?” The screen then

flashes to a white background with a sandwich in the middle and “Great Taste Plant

Based” zooms in from both sides in the largest and most prominent text.




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      51.   Both Dunkin’ and Snoop Dogg himself promoted their collaboration

and “Great Taste Plant Based” widely on social media:




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      52.   Between at least three different commercials featuring the “GREAT

TASTE PLANT-BASED” slogan, advertisement tracking data indicates that

Dunkin’ and Beyond spent approximately $10 million to enjoy more than 1 billion

aggregate viewer impressions – enough for nearly every man, women, and child in

the United States to see the commercials three times, or to flood a smaller group of

viewers far more than three times apiece.

      53.   Without a doubt, the infringing slogan was one of the most central

components of Defendants’ promotional efforts, if not the single most important

component. As a part of their GREAT TASTE PLANT-BASED campaign, Dunkin’

and Beyond’s use of the infringing trademark was featured prominently on store

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signage, marketing material and promotional material such as t-shirts, on the

Dunkin’ app, on the Dunkin’ website, and in ads on social media, to name just a few

examples, including the below:




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      54.   An online sweep of customer pictures also identified examples of in-

store use of “GREAT TASTE PLANT-BASED” nationwide, in Hawaii, Los

Angeles and New York in late 2019:




             Hawaii                                    Hawaii




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                 Los Angeles                                    New York

        The Likelihood of Confusion Between the Parties’ Trademarks

      55.    Vegadelphia’s WHERE GREAT TASTE IS PLANT-BASED® Mark is

a strong trademark. It is inherently distinctive for the substitute meat products sold

thereunder and was granted a federal trademark registration without requirement that

any portion of the mark be disclaimed as unprotectable.

      56.    Vegadelphia’s WHERE GREAT TASTE IS PLANT-BASED® Mark is

also incontestable as a matter of law, which enhances the strength of the mark as it

is presumed to be at least descriptive with secondary meaning and therefore strong.


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      57.    Vegadelphia’s WHERE GREAT TASTE IS PLANT-BASED® Mark is

further strengthened by Vegadelphia’s substantially exclusive use of the mark, as

shown at least by the absence of other such marks from the Trademark Register. (In

fact, it appears the only other mark even applied for on the principal or supplemental

register is Beyond’s variation on a theme – PLANT-BASED, GREAT TASTE –

which (even with using flipped phrasing) was still rejected by the USPTO based on

its likelihood of confusion with Vegadelphia’s registered trademark, and ultimately

that March 2020 application was abandoned by Beyond.

      58.    Vegadelphia has also enjoyed significant commercial success from sale

of products in association with the WHERE GREAT TASTE IS PLANT-BASED®

Mark, including major deals for grocery and retail distribution.

      59.    Dunkin’ and Beyond’s use of “GREAT TASTE PLANT-BASED” is

virtually identical to Vegadelphia’s WHERE GREAT TASTE IS PLANT-BASED®

Mark. The entirety of Dunkin’ and Beyond’s slogan is comprised of prominent

words in Vegadelphia’s WHERE GREAT TASTE IS PLANT-BASED® Mark in

the same order.

      60.    The marketing elements used by the parties share an overwhelming and

striking similarity. Dunkin’ and Beyond’s use of “GREAT TASTE PLANT-

BASED” appears visually in a hyphenated, stacked word formation in a font style

and green color scheme that is nearly identical to the word orientation, color and font



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style used by Vegadelphia in connection with its WHERE GREAT TASTE IS

PLANT-BASED® Mark, even including a sunray background design in promotional

material which is nearly identical to the sunray design used by Vegadelphia:




                     PLAINTIFF                               DEFENDANTS




            PLAINTIFF                              DEFENDANTS



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            PLAINTIFF                              DEFENDANTS


      61.     The parties’ goods sold in association with their respective marks are

identical. They are both meat substitutes and are products of the kind that the public

could certainly attribute to or licensed from a single source.

      62.     The parties’ channels of trade and customers are identical or highly

similar. The parties’ end consumer market for meat substitutes includes vegans and

vegetarians, a very specific overlapping group of customers, but also more broadly

to anyone looking for plant-based food options without sacrificing look or taste.

They also overlap in distributing vegan food products for food service providers or

retail operators. Vegadelphia sells at wholesale to delis and markets that traditionally

compete with Beyond for sales. Vegadelphia sells to Meson Sandwiches (a/k/a El

Meson Restaurants), which is a direct competitor of Dunkin’ for both breakfast,

sandwiches and coffee. El Meson sells vegetarian menu items with Vegadelphia

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meat substitutes against which the Dunkin’ Beyond Sausage sandwiches directly

competed, with El Meson’s over three dozen Orlando and Puerto Rico locations

competing directly with Dunkin’s 50 Orlando locations and 10 locations in Puerto

Rico. In addition, Dunkin’ products are also procured and distributed to its retail

locations through a supply chain provider, making it further similar to Vegadelphia’s

distribution.

      63.       Dunkin’ and Beyond’s infringement was also intentional and willful,

including because Dunkin’ and Beyond intended to derive an undue benefit from

their coopting of Vegadelphia’s established WHERE GREAT TASTE IS PLANT-

BASED® Mark, flooded the market with the infringing campaign in willful and

reckless disregard for Vegadelphia’s preexisting and established trademark rights,

and failed to promptly cease all infringement after notice including, on information

and belief, by failing to make any announcement to its 9,000 stores or their staff to

cease using and remove signage and apparel featuring the infringing mark.

      64.       Further, Vegadelphia’s registered WHERE GREAT TASTE IS

PLANT-BASED® Mark appeared on the Principal Register at the USPTO and

provided at least constructive knowledge of its trademark rights to Dunkin’ and

Beyond as of 2015, years prior to Dunkin’ and Beyond’s use of “GREAT TASTE

PLANT-BASED.”




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      65.    Dunkin’ and Beyond either (i) failed to do a proper trademark clearance

search before their use of “GREAT TASTE PLANT-BASED,” which any company

of their size would understand is a critical diligence step, or (ii) were specifically

aware of Vegadelphia’s WHERE GREAT TASTE IS PLANT-BASED® Mark

which appeared in trademark search results and went ahead with their infringing

slogan regardless of Vegadelphia’s rights, and on information and belief, Defendants

pursued the latter course.

      66.    Prior to the nationwide Dunkin’ launch of the Beyond Sausage

Sandwich, Beyond claims to have used the slogan “PLANT-BASED GREAT

TASTE,” which has the same components as the nationwide launch slogan “GREAT

TASTE PLANT-BASED.” Beyond admitted to the USPTO that it used “PLANT-

BASED GREAT TASTE” as a mark for the first time in March of 2019. Specifically,

Beyond represented to the USPTO in a declaration under penalty of perjury that it

“believes that [Beyond] is the owner of the trademark,” “the mark is in use in

commerce” for meat substitutes, vegan and vegetarian meat products, and plant-

based meat substitutes, and that for such goods “the mark was first used by [Beyond

or its] related company or licensee or predecessor in interest at least as early as

03/00/2019, and first used in commerce at least as early as 03/00/2019, and is now

in use in such commerce.” Thus, sometime between March 2019 and November

2019, Beyond and Dunkin’ reversed the order of the two-part slogan to the “GREAT



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TASTE PLANT-BASED” version that identically mirrored Vegadelphia’s WHERE

GREAT TASTE IS PLANT-BASED® Mark, and continued at points (for example,

Snoop Dogg’s verbal use in the noted national commercial) to use the mark in this

order. To be clear, the slogan whether or not in flipped order is still an unlawful

infringing use as used by Defendants.

      67.   The visual similarity of the parties’ hyphenated, stacked word

formation in a font style and green color scheme that is nearly identical in word

orientation, color, font style, and a sunray background design is beyond coincidence

and shows copying-in-fact.

      68.   Shortly after Beyond filed its own dubious U.S. trademark application

for the reversed “PLANT-BASED GREAT TASTE” version of the infringing slogan

in March 2020, Vegadelphia sent May 2020 cease and desist letters to Dunkin’ and

Beyond demanding that they cease and desist all use of the phrase (in forward or

reverse order) and that Beyond withdraw its trademark application for “PLANT-

BASED GREAT TASTE.”

      69.   Yet, following receipt of Vegadelphia’s cease and desist letters,

Dunkin’ and Beyond continued to capitalize on the slogan recognition developed in

the late 2019 and early 2020 flooding of the marketplace. For example, pictures

taken at a drive-thru in late August 2020 showed infringing “GREAT TASTE

PLANT-BASED” shirts still being worn by employees, and prominent infringing



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“GREAT TASTE PLANT-BASED” signage on the sidewalk in front of a Dunkin’

store to attract customers. In-store infringing shirt usage also continued at least into

March 2021. Of particular note, given the exponentially increased importance of

food delivery services during the COVID-19 pandemic, Doordash and Uber Eats

still led off the Dunkin’ menu item with the slogan “GREAT TASTE, PLANT-

BASED” as late as at least January 2021.




          DOORDASH                                UBER EATS


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      70.    On June 12, 2020, the USPTO itself confirmed the likelihood of

confusion between the parties’ marks when it rejected Beyond’s “PLANT-BASED

GREAT TASTE” trademark (the earlier reversed-order version of its slogan) in an

Office Action based on a likelihood of confusion with Vegadelphia’s WHERE

GREAT TASTE IS PLANT BASED® Mark for “meat substitute and poultry

substitute.” In the Office Action, the USPTO cited as the bases for refusal the facts

that the two marks create a confusingly similar commercial impression and the goods

include identical as well as closely related products. Beyond then filed an

abandonment of the application.

      71.    Likewise, Vegadelphia’s consumers and its target market familiar with

Vegadelphia’s WHERE GREAT TASTE IS PLANT-BASED mark are likely to

believe that Vegadelphia is the source, sponsor, licensor or affiliate of Dunkin’ and

Beyond through their use of “GREAT TASTE, PLANT-BASED.”

      72.    Further, reverse confusion is also likely as a result of Dunkin’ and

Beyond having overwhelmed the marketplace. Vegadelphia’s prospective customers

and members of its target market to first encounter Vegadelphia’s marketplace use

of WHERE GREAT TASTE IS PLANT-BASED after encountering the GREAT

TASTE PLANT-BASED mark (including its reverse ordering and other variations

of the mark, collectively “GREAT TASTE PLANT-BASED Mark”)                        that

Defendants have flooded into the marketplace were and are likely to confuse



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Vegadelphia as being associated with Dunkin’ and Beyond, with a substantial

number of prospective consumers and members of the target market likely to

mistakenly conclude that Vegadelphia is either authorized or licensed by these junior

users or that Vegadelphia is in fact the junior user and infringing on Dunkin’ and

Beyond.

      73.    Both Vegadelphia and Defendants also both target new consumers to

bring into the substitute meat industry with little or no prior familiarity and who are

likely to be confused by the parties’ respective marks that are nearly identical for

identical goods. Dunkin’ and Beyond’s usage continues to flood the internet and

occupy (without limit) two of the top Google search results for WHERE GREAT

TASTE IS PLANT-BASED. Even highly-educated consumers are likely to be

confused by marks that are nearly identical for identical goods.

      74.    By infringing with their unauthorized use, Dunkin’ and Beyond have

harmed Vegadelphia’s valuable goodwill. They have also deprived Vegadelphia of

possible licensing revenue and sales opportunities, hindered expansion

opportunities, and caused irreparable injury that is difficult to calculate or adequately

compensate through monetary damages. Thus, Vegadelphia brings this action for

trademark infringement.

                               COUNT ONE
             (Federal Trademark Infringement under Section 1114)

      75.    Vegadelphia incorporates all allegations contained in this Complaint as

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if fully restated herein.

       76.    Vegadelphia owns registered trademark rights in the WHERE GREAT

TASTE IS PLANT BASED® Mark, a distinctive mark at the time of the

infringement.

       77.    Vegadelphia is or is likely to be damaged by the Defendants’ wrongful

and unauthorized use of “GREAT TASTE PLANT-BASED” Mark in commerce

and interstate commerce.

       78.    Defendants’ use of “GREAT TASTE PLANT-BASED” caused and

continues to cause a likelihood of confusion, mistake, and deception with

Vegadelphia’s WHERE GREAT TASTE IS PLANT BASED® Mark and constitutes

an infringing use of the WHERE GREAT TASTE IS PLANT BASED® Mark in

violation of 15 U.S.C. § 1114.

       79.    Defendants have committed the foregoing acts of infringement with

knowledge of Vegadelphia’s prior rights in the WHERE GREAT TASTE IS PLANT

BASED® Mark both intentionally and willfully.

       80.    Defendants’ conduct is causing immediate and irreparable harm and

injury to Vegadelphia, and to its goodwill and reputation, and will continue to both

damage Vegadelphia and confuse the public unless enjoined by this court.

Vegadelphia has no adequate remedy at law. An award of monetary damages alone

cannot fully compensate Vegadelphia for its injuries.



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      81.    Vegadelphia is entitled to, among other relief, injunctive relief, an

award of actual damages, corrective advertising costs, reasonable licensing fees, a

reasonable portion of Defendants’ profits made on sales of infringing goods (see,

e.g. W.E. Bassett Co. v. Revlon, Inc., 435 F.2d 656, 662 (2d Cir. 1970)), and the costs

of this action. Enhancement for both damages (up to treble) and profits pursuant to

Section 1117(a) of the Lanham Act is also warranted.

      82.    Furthermore, on information and belief, the actions of Defendants were

undertaken willfully, and with the intention of causing confusion, mistake, or

deception, and this case qualifies as an exceptional case entitling Vegadelphia to

recover enhanced damages and reasonable attorneys’ fees, together with

prejudgment and post-judgment interest. See 15 U.S.C. §§ 1116, 1117.

      83.    In addition, Dunkin’ and Beyond’s GREAT TASTE, PLANT-BASED

mark is identical with and substantially indistinguishable from Vegadelphia’s

WHERE GREAT TASTE IS PLANT-BASED mark so as to constitute a

counterfeit and spurious mark, used willfully and with knowledge of Vegadelphia’s

senior rights, entitling Vegadelphia to the remedies available against counterfeit

marks under Section 1117(b) and (c) of the Lanham Act, including automatic

trebling of all profits and damages awarded, automatic award of attorney’s fees,

prejudgment interest on such amounts (in addition to post-judgment interest), and or

statutory damages up to a maximum amount of $2 million per type of good sold,



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offered for sale, or distributed.

                               COUNT TWO
             (Federal Trademark Infringement Under Section 1125)

       84.    Vegadelphia incorporates all allegations contained in this Complaint as

if fully restated herein.

       85.    Vegadelphia owns common law trademark rights in the WHERE

GREAT TASTE IS PLANT BASED Mark.

       86.    Defendants’ use of “GREAT TASTE PLANT-BASED” Mark violates

15 U.S.C. § 1125(a) because Defendants’ use of “GREAT TASTE PLANT-

BASED” misrepresents that, and creates a likelihood of confusion as to whether,

Vegadelphia is the source, sponsor of, or an affiliate of Defendants’ goods.

       87.    Vegadelphia as the senior user properly insists that its goodwill and

reputation should not be imperiled by the acts of another over which Vegadelphia

has no control.

       88.    Vegadelphia’s goodwill is of substantial value, and Vegadelphia is

suffering and will continue to suffer irreparable harm if Defendants’ unfair

competition as to its use of “GREAT TASTE PLANT-BASED” is allowed to

continue.

       89.    Defendants’ misconduct will continue unless enjoined by this Court.

An award of monetary damages alone cannot fully compensate Vegadelphia for its

injuries. Vegadelphia lacks an adequate remedy at law.

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       90.    Vegadelphia is entitled to, among other relief, injunctive relief, an

award of actual damages, corrective advertising costs, reasonable licensing fees, a

reasonable portion of Defendants’ profits made on sales of infringing goods, and the

costs of this action. Enhancement pursuant to Section 1117(a) of the Lanham Act is

also warranted for both damages (up to treble) and profits.

       91.    Furthermore, on information and belief, the actions of Defendants were

undertaken willfully, designed to trade upon the consumer goodwill enjoyed by

Vegadelphia, and with the intention of causing confusion, mistake, or deception,

making this an exceptional case entitling Vegadelphia to recover additional

enhanced damages and reasonable attorneys’ fees, together with prejudgment and

post-judgment interest. See 15 U.S.C. §§ 1116, 1117.

                                 COUNT THREE
                    (State Statutory Trademark Infringement)

       92.    Vegadelphia incorporates all allegations contained in this Complaint as

if fully restated herein.

       93.    Defendants’ actions described above and specifically, without

limitation, their use of the GREAT TASTE PLANT-BASED Mark in commerce to

advertise, market, and sell meat substitute goods; and Defendants’ knowledge of and

participation therein, constitute trademark infringement in violation of state law,

including the statutory laws of the State of Florida.

       94.    By these actions, Defendants have engaged in deceptive trade practices


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in violation of state law, including Fla. Stat. § 501.201, et seq., and, as a result,

Vegadelphia has suffered and will continue to suffer damage to its business,

reputation, and goodwill.

       95.    As a direct and proximate result of Defendants’ willful and intentional

actions, Vegadelphia has suffered damages in an amount to be determined at trial

and, unless Defendants are restrained, Vegadelphia will continue to suffer

irreparable damage, entitling Vegadelphia to injunctive relief.

       96.    Vegadelphia is entitled to, among other relief, injunctive relief, an

award of actual damages, corrective advertising costs, reasonable licensing fees, a

reasonable portion of Defendants’ profits made on sales of infringing goods, and the

costs of this action.

       97.    The actions of Defendants described above were and continue to be

willful, wanton and in reckless disregard of the rights of Vegadelphia, and in bad

faith. Vegadelphia is entitled to recover the costs of this action and attorneys’ fees.

                                   COUNT FOUR
                        (Common Law Trademark Infringement)

       98.    Vegadelphia incorporates all allegations contained in this Complaint as

if fully restated herein.

       99.    Defendants’ actions described above and specifically, without

limitation, their use of the “GREAT TASTE PLANT-BASED” Mark in commerce

to advertise, market, and sell meat substitute goods; and Defendants’ knowledge of


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and participation therein, constitute common law trademark infringement that is

likely to cause or has already caused consumer confusion.

      100. As a result of Defendants’ misconduct, Vegadelphia has suffered and

will continue to suffer damage to its business, reputation, and goodwill.

      101. As a direct and proximate result of Defendants’ willful and intentional

actions, Vegadelphia has suffered damages in an amount to be determined at trial

and, unless Defendants are restrained, Vegadelphia will continue to suffer

irreparable damage, thus entitling Vegadelphia to injunctive relief.

      102. Vegadelphia is entitled to, among other relief, injunctive relief, an

award of actual damages, corrective advertising costs, reasonable licensing fees, a

reasonable portion of Defendants’ profits made on sales of infringing goods, and the

costs of this action.

      103. Vegadelphia is entitled to recover the costs of this action and attorneys’

fees and is further entitled to recover punitive damages under, inter alia, Fla. Stat. §

768.72(2)(a). The actions of Defendants described above were and continue to be

willful, wanton and in reckless disregard of the rights of Vegadelphia, and in bad

faith. Defendants’ infringing conduct alleged herein was taken with actual

knowledge of its wrongfulness and the high probability that injury or damage to

Vegadelphia would result. The infringing conduct was also gross negligence in that

Defendants’ conduct was so reckless that it constitutes a conscious disregard or



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indifference to the rights of Vegadelphia. The Defendants intentionally individually

and collectively pursued that course of conduct, resulting in injury and damage to

Vegadelphia. This was a national campaign and company-wide partnership. The

Defendant corporations themselves actively and knowingly participated in such

conduct and, on information and belief, the infringing GREAT TASTE, PLANT-

BASED campaign and partnership between Defendants was condoned, ratified or

consented to by the officers, directors, and/or managers of each of the Defendants.

                                          COUNT FOUR
                                (Contributory Trademark Infringement)

       104. Vegadelphia incorporates all allegations contained in this Complaint as

if fully restated herein.

       105. For each federal and state law of infringement, Defendants are also

contributorily and indirectly liable for trademark infringement, in addition to their

direct liability.

       106. This contributory infringement includes, on information and belief,

Defendants contributing to infringement by franchisees by:

                    a. Dunkin’ put together uniform at-store window signage, drive-

                      thru signage, TV materials to display on the TVs behind the sales

                      counter, employee t-shirts, Dunkin’ in-store radio curated

                      content, and online training for store and franchise staff, all

                      consistent with Defendants’ national advertising campaigns and


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                 each of which promotion-related materials prominently featured

                 the GREAT TASTE PLANT-BASED Mark (as shown in the

                 examples of pictures above), in order to generate the sales of

                 Beyond Sausage sandwiches at franchised locations;

              b. Dunkin’ directed franchisees to engage in the all-staff training

                 and display the at-store materials they had distributed to each

                 franchisee, over whom Dunkin’ had control and the contractual

                 right to terminate franchises for non-compliance with marketing

                 and promotion requirements;

              c. Beyond provided creative and direct input into the national

                 campaign, on information and belief initially providing the

                 GREAT TASTE PLANT-BASED Mark to Dunkin’ for use in

                 connection with the collaboration in order to make the

                 sandwiches a success at the individual Dunkin’ stores, including

                 franchisee locations; Beyond ran promotions on its own social

                 media accounts to drive those Dunkin’ sales, and contributed

                 creative input for the specific ads and promotional materials,

                 along with financial assistance for the Dunkin’-wide campaign,

                 promotion and sales of the Beyond Sausage sandwiches under

                 the GREAT TASTE PLANT-BASED Mark.



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      107. To the extent any of the actions alleged in this Complaint were carried

out by Dunkin’ franchisees, or other third parties participating in the “GREAT-

TASTE PLANT-BASED” Mark campaign and usage, rather than Defendants

directly, Defendants had knowledge of Dunkin’ franchisees’ actions described above

and specifically, without limitation, franchisees’ use and the other third-party uses

of the “GREAT TASTE PLANT-BASED” Mark in commerce to advertise, market,

and sell Beyond Sausage meat substitute goods; and Defendants’ knowledge of and

participation therein, constitute contributory infringement that is likely to cause or

has already caused consumer confusion.

      108. Defendants also intentionally induced these other participants in the

infringement, including Dunkin’ franchisees, to infringe and use the “GREAT

TASTE PLANT-BASED” Mark.

      109. Defendants were at all relevant times able to exercise direct control and

practical control over franchisees’ actions and third parties that lead to sales of

substitute meat products by franchisees, including the franchisees’ federal and state

law trademark violations alleged above using the “GREAT TASTE PLANT-

BASED” Mark.

      110. Defendants did not prevent franchisees’ federal and state law trademark

violations, but instead encouraged those actions by providing and requiring use of

infringing materials bearing the “GREAT TASTE PLANT-BASED” Mark and



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refusing to take simple take-down and recall measures to prevent franchisees’

federal and state law trademark violations with respect to the “GREAT TASTE

PLANT-BASED” Mark.

      111. In addition, while Defendants had the ability and power to take simple

measures to prevent franchisees’ federal and state law trademark violations alleged

above, they chose not to do so. For example, on information and belief, Defendants

did not advise anybody at direct-owned or franchised stores to cease use of the

GREAT TASTE PLANT-BASED shirts or that there was an ongoing trademark

dispute, which were instead permitted for continued use indefinitely as work

uniforms, similarly did not advise the delivery apps upon whom they so relied, did

not advise regarding at-store signage, did not remove or take steps to remove the

social media posts or You Tube videos that continued to drive customer traffic, did

not advise others making similar use to remove their online and social media posts,

did not take steps to cease search-engine placement based upon the infringing mark

usage, all of which not only continued the infringement but had as its natural effect

the encouragement and direction of ongoing infringement by third parties directly in

connection with sales and interest-generation in Dunkin’s Beyond Sausage

sandwiches. The natural and known effect of Defendants’ failure to so advise or

otherwise act to bring to a conclusion the infringement stemming from their mass

flooding of the U.S. marketplace with the GREAT TASTE PLANT-BASED



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campaign was that the infringement continued in substantial degree long after the

height of the full campaign’s marketing blitz and continues to this day.

      112. As a result of Defendants’ misconduct, Vegadelphia has suffered and

will continue to suffer damage to its business, reputation, and goodwill.

      113. As a direct and proximate result of Defendants’ willful and intentional

actions, Vegadelphia has suffered damages in an amount to be determined at trial

and, unless Defendants are restrained, Vegadelphia will continue to suffer

irreparable damage, thus entitling Vegadelphia to injunctive relief.

      114. Vegadelphia is entitled to, among other relief, injunctive relief, an

award of actual damages, corrective advertising costs, reasonable licensing fees, a

reasonable portion of Defendants’ profits made on sales of infringing goods, and the

costs of this action.

      115. The actions of Defendants described above were and continue to be

willful, wanton and in reckless disregard of the rights of Vegadelphia, and in bad

faith. Therefore, Vegadelphia is entitled to recover the costs of this action and

attorneys’ fees and is further entitled to recover punitive damages.

                             PRAYER FOR RELIEF

   WHEREFORE, Vegadelphia respectfully prays for judgment, as follows:

      1.     That Vegadelphia be granted preliminary and permanent injunctive

relief, including under 15 U.S.C. § 1051 et seq. and Fla. Stat. § 501.201, et seq.;



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specifically, that Defendants and all of their respective officers, agents, servants,

representatives, employees, attorneys, and all other persons acting in concert with

them be enjoined from:

             a.    Using the WHERE GREAT TASTE IS PLANT BASED® Mark,

      “GREAT TASTE PLANT-BASED” (including in reverse order), or any mark

      confusingly similar to the WHERE GREAT TASTE IS PLANT BASED®

      Mark, in connection with the marketing, promotion, advertising, sale, or

      distribution of any meat substitute product;

             b.    Encouraging or assisting others to use the WHERE GREAT

      TASTE IS PLANT BASED® Mark, “GREAT TASTE PLANT-BASED”

      (including in reverse order), or any mark confusingly similar to the WHERE

      GREAT TASTE IS PLANT BASED® Mark, in connection with the

      marketing, promotion, advertising, sale, or distribution of any meat substitute

      product;

             c.    Making or inducing others to make any false, misleading or

      deceptive statement of fact, or representation of fact in connection with the

      promotion, advertisement, packaging, display, sale, offering for sale,

      manufacture, production, circulation or distribution of meat substitute

      products.

      2.     That Defendants file, within ten (10) days from entry of an injunction,



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a declaration with this Court signed under penalty of perjury certifying the manner

in which Defendants have complied with the terms of the injunction;

      3.     That Defendants be adjudged to have violated 15 U.S.C. § 1114 by

infringing Vegadelphia’s trademark rights;

      4.     That Defendants be adjudged to have violated 15 U.S.C. § 1125(a) by

infringing Vegadelphia’s trademark rights;

      5.     That Defendants be adjudged to have unlawfully infringed

Vegadelphia’s trademark rights under state law, including the laws of the State of

Florida, Fla. Stat. § 501.201, et seq.;

      6.     That Defendants be adjudged to have unlawfully infringed

Vegadelphia’s common law trademark rights;

      7.     That Vegadelphia be awarded damages pursuant to 15 U.S.C. §

1117(a), sufficient to compensate it for the damage caused by Defendants’

misconduct, including for its willfulness;

      8.     That Vegadelphia be awarded statutory damages up to $2 million per

counterfeit mark per type of good, or actual damages and a reasonable portion of

Defendants’ infringing profits to be automatically trebled, pursuant to 15 U.S.C. §

1117(b) and (c);

      9.     That Vegadelphia be awarded a reasonable portion of Defendants’

profits derived by reason of said acts;



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      10.    That Vegadelphia be awarded corrective advertising costs in an amount

to be proven at trial;

      11.    That such damages and profits be enhanced and awarded to

Vegadelphia and that it be awarded its costs, attorneys’ fees and expenses in this suit

under 15 U.S.C. § 1117, as a result of Defendants’ willful, intentional, and deliberate

acts in violation of the Lanham Act, and also for its infringement by use of a

counterfeit mark;

      12.    That Vegadelphia be awarded damages in an amount sufficient to

compensate it for the damage caused by Defendants’ infringement, including under

Fla. Stat. § 501.201, et seq. and common law;

      13.    That Vegadelphia be awarded punitive damages under state law,

including inter alia, Fla. Stat. § 768.72(2)(a);

      14.    That Vegadelphia be granted prejudgment and post-judgment interest

under federal and state law;

      15.    That Vegadelphia be granted costs associated with the prosecution of

this action; and

      16.    That Vegadelphia be granted such further relief as the Court may deem

just and proper.




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                           DEMAND FOR JURY TRIAL

      Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Vegadelphia

respectfully requests a trial by jury of all issues properly triable by jury.



 Dated: April 28, 2022                      /s/ James A. Washburn
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